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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                            JACKSONVILLE DIVISION


    ELMER WILLIAMS,

          Plaintiff,

    v.                                           Case No. 3:22-cv-1221-MMH-MCR

   RICKY DIXON, in his official capacity as
   Secretary of the Florida Department of
   Corrections, et al.,

          Defendants.


         PLAINTIFF’S RESPONSE IN OPPOSITION TO CENTURION’S
           PROPOSED HIPAA-QUALIFIED PROTECTIVE ORDER

         Pursuant to Fed.R.Civ.P. 26(c), Plaintiff Elmer Williams responds in

  opposition to the Motion for HIPAA-Qualified Protective Order Proposed by

  Centurion of Florida, LLC, and would show:

         Plaintiff has sued the Florida Department of Corrections (FDC) and Centurion

  of Florida and individuals for violations of his constitutional rights and the Americans

  with Disabilities Act (ADA) while housed at Suwannee Correctional Institution,

  which resulted in injuries to him. Given these claims, some critical material evidence

  may disclose Protected Health Information (PHI). A HIPAA-Qualified Protective

  Order under the Health Insurance Portability and Accountability Act of 1996

  (HIPAA) can keep PHI secure through ordering limited dissemination, use only for

  the litigation, and destruction or return afterward pursuant to federal regulations.


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        Early in this case, Plaintiff and the Florida Department of Corrections (FDC),

  as Custodian of the Medical Records, came to an agreement on the contents of a

  General Confidentiality Order and agreed to file a Joint Motion. (ECF 84). Defendant

  Centurion chose not to join the Motion but agreed not to oppose it as long as it reserved

  that there would be a subsequent separate HIPAA-Qualified Protective Order.

        The Motion was filed on May 15, 2023 (ECF 84) and granted on May 31, 2023.

  (ECF 86). At around the same time, Centurion circulated a proposed 18-page

  “Stipulated Protective Order” that had a three-and-a-half-page section on Protected

  Health Information but actually covered the whole conduct of discovery of all kinds.

  Plaintiff responded requesting that Centurion narrow its scope to encompass just the

  documents for which it sought protection, stressing that FDC was the custodian of the

  medical records and that to the extent that Centurion had special protection needs, the

  other parties could accommodate those special needs. Counsel for Plaintiff submitted

  a redline review of the 18-page proposed protective order proposing changes but

  received no response to it.

        In fact, it was only when Plaintiff received no answer to his proposed redline

  changes to the 18-page Centurion protective order that it became clear that no

  compromise would be forthcoming from Centurion. On July 16, 2024, FDC and the

  Plaintiff joined in a Joint Motion for Entry of HIPAA-Qualified Protective Order to

  which Centurion, again, was not a party. FDC is the sole custodian of the inmate

  medical records in this case and no such records can be obtained except through FDC.




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  On July 31, 2024, the Order (ECF 137) was entered. 1

         The 18-page Protective Order proposed by Centurion cuts across the provisions

  of the existing Confidentiality Order (ECF 86) and HIPAA-Qualified Protective Order

  (ECF 137) and countermands the process by which the litigants have conducted

  discovery for the past nearly two years in this case. It seeks to fix what wasn’t broken.

  It confuses who has rights as a party to the litigation and bestows powerful rights on

  “non-parties.” Centurion has never articulated how its sweeping and hyper-technical

  processes protect the information it expects to be asked to produce. What seems clear

  is that it will confuse, complicate, slow, and frustrate the goals of the litigation, and

  increase litigation costs on every side. It will violate every prong of Fed.R.Civ.P. 1.

      A. The Order Would Bestow Rights on a Vast Array of Persons and Entities

         Centurion’s proposed protective order does not simply cover Protected Health

  Information. It covers every aspect of discovery in a way that impossibly complicates

  and encumbers the discovery process. Centurion’s proposed protective order defines

  “Parties” and “Non-parties” as follows:

                2.      DEFINITIONS

                2.1     Party: 2 any party to this action, including any officer, director,
  1
    It is not accurate to say, as Centurion contends in ECF 139 at 3, that Plaintiff did not reply
  to Centurion’s assertion that Florida law over-rules federal HIPAA regulations for purposes
  of discovery in a federal case. Plaintiff responded with authority to the contrary.
  2
    Parties have rights and duties in the proposed order. But the broad definition of “party”
  includes even persons “purporting” to act on behalf of or at the direction of a party. This is so
  completely unqualified that it can describe any person at all – or any person acting at the
  direction of or on behalf of any other person – or who claims to be doing so. Outside counsel
  or experts retained by a party (§ 2.9, § 2.12) also meet the definition of a “party” (§ 2.1) so
  “parties” can retain other “parties.” Conversations by self-appointed “parties” in court can be



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         employee, representative, agent, consultant, retained expert, outside counsel
         (and their support staff), or other person or entity acting or purporting to act on
         behalf or at the direction of any party.

                2.2 Non-Party: 3 any natural person, partnership, corporation,
         association, or other legal entity not a Party in this action, including any officer,
         director, employee, representative, agent, consultant, retained expert, outside
         counsel (and their support staff), or other person or entity acting or purporting
         to act on behalf or at the direction of any party.

  (ECF 139-1 at 1-2).

         The list of parties, all of whom have rights and duties under this proposed order,

  is itself intractable. To break it down, § 2.1 would empower:

         1. Any party to this action;
         2. Any officer, director, employee, representative or agent;
         3. Any consultant, retained expert, outside counsel or support staff;
         4. Any other person acting on behalf of any party;
         5. Any other entity acting on behalf of any party;
         6. Any other person acting at the direction of any party;
         7. Any other entity acting at the direction of any party;
         8. Any other person purporting to act on behalf of any party;
         9. Any other entity purporting to act on behalf of any party;
         10. Any other person purporting to act at the direction of any party;
         11. Any other entity purporting to act at the direction of any party.

         And § 2.2 would empower:

         1.   Any natural person, partnership, corporation, association,
         2.   Any other legal entity not a Party in this action,
         3.   Any officer, director, employee, representative, agent,
         4.   Any consultant, retained expert,

  subject to protection (see § 3 Scope). Such self-appointed “parties,” though not plaintiffs or
  defendants, are entitled to notice of discovery motions – not just motions involving them.
  Such “parties” can designate material as confidential, marking it as such.
  3
    The 18-page Protective Order proposed by Centurion cuts across the provisions of the
  existing Confidentiality Order and HIPAA-Qualified Protective Order and countermands the
  process by which we have been conducting discovery for the past nearly two years in this case.
  In essence, if Centurion’s order is entered, it would effectively shred the prior orders in place
  with FDC. One of the proposals Plaintiff made to Centurion was to limit the agreement just
  to Centurion by defining “party” to be Centurion and its staff.


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        5. Any outside counsel (and their support staff),
        6. Any other person acting on behalf of any party;
        7. Any other entity acting on behalf of any party;
        8. Any other person acting at the direction of any party;
        9. Any other entity acting at the direction of any party;
        10. Any other person purporting to act on behalf of any party;
        11. Any other entity purporting to act on behalf of any party;
        12. Any other person purporting to act at the direction of any party;
        13. Any other entity purporting to act at the direction of any party;

        Essentially, any person or entity connected with discovery can assert rights that

  can govern the discovery process and the pace and cost at which it is conducted. The

  sections defining the things to be protected are also full of mischief.

               2.3 Disclosure or Discovery Material: all items or information,
        regardless of the medium or manner generated, stored, or maintained
        (including, among other things, testimony, transcripts, or tangible things) that
        are produced or generated in disclosures or responses to discovery in this matter.

  (ECF 139-1 at 2).

        In § 2.3, Disclosure or Discovery Material, it is not just “materials” that are

  protected, but also “information” “regardless of the medium or manner generated”

  including, “among other things, testimony, transcripts, or tangible things.” In other

  words, ideas. Ideas, that may derive in part from protected materials, may constitute

  the central theme of a case. For example, in a corrections context, the fact that an

  inmate in special housing must be escorted with certain kind of restraints and

  observing certain protocols may derive from a restricted document like a Post Order

  or an Inmate Movement Procedure and yet it may be the central theme of an excessive

  force case. Elements of the protocol may pop up on every other page of any deposition

  of any officer or percipient witness or expert or administrator. Where those mentions



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  can require special handling, there are infinite opportunities for greater cost and delay.

  For instance, under § 5.1(b) of the proposed order (ECF 139-1 at 5) a deponent has 20

  days, after the transcript is received to determine what part of his or her testimony

  “qualifies for protection” and mark the pages “Confidential.” Then the transcript

  pages must be “separately bound” by the court reporter with the legend “Confidential”

  at the top of each page. If a transcript is prepared within the normal time frame, which

  is two weeks, and conveyed to the deponent who has 20 days from receipt to select

  and mark the ”Confidential” sections and the transcript is then sent back to the court

  reporter so that each set of contiguous marked pages are separately bound, the impact

  of the additional cost and delay would be insupportable.

        Section 2.4 finally gets to the heart of the matter for Centurion:

               2.4 Confidential: information (regardless of how generated, stored or
        maintained) or tangible thing that qualifies for protection whether contained in
        documents, testimony, or otherwise, that constitutes trade secrets, proprietary
        business information, competitively sensitive information, and personal or
        business financial information. Information designated as Confidential may
        also include, but is not limited to, information that falls within one or more of
        the following categories: (a) information prohibited from disclosure by statute;
        (b) information that reveals trade secrets; (c) research, technical, commercial,
        contractual, or financial information that is maintained as confidential; (d)
        medical information concerning any individual; (e) personal identity
        information; or (f) personnel or employment records. Information or documents
        that are available to the public may not be designated as Confidential.

  (ECF 139-1 at 2).

        Of the six categories of information listed by Centurion that presumptively

  qualify for protection only one mentions medical information. That is because this is

  not really a HIPAA-Qualified Protective Order. Most of the other categories involve



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  corporate secrecy and essentially insights into how they run their business—which for

  purposes of this case is in the shoes of a state actor, therefore diminishing its

  entitlement to any protection, which would arguably violate state public records

  laws—which is, of course, at issue in this case. The language of § 2.4(a) is vague:

  “information prohibited from disclosure by statute.” There is no mention of whether

  such statute is state or federal and there is no mention of the “good cause” standard of

  Fed.R.Civ.P. 26(c). Only § 2.4(d) mentions medical information. And a close review

  of the three-and-a-half page section on Protected Health Information (PHI), § 14, limits

  access to medical information to Plaintiff’s own medical records. This effectively blocks

  Plaintiff from comparing his experience with Centurion’s pattern of monitoring and

  treating prisoner patients with conditions, like his, that require costly medical care.

                               MEMORANDUM OF LAW

     A. The Protective Order Standard.
         The Court may issue a protective order “for good cause shown.” Fed. R. Civ.

  P. 26(c). Although no absolute definition exists for “good cause,” the phrase generally

  “signifies a sound basis or legitimate need to take judicial action.” In re Alexander Grant

  & Co. Litig., 820 F.2d 352, 356 (11th Cir. 1987) (per curiam). The party seeking a

  protective order has the burden to demonstrate good cause and must make “a

  particular and specific demonstration of fact as distinguished from stereotyped and

  conclusory statements” supporting the need for a protective order. U.S. v. Garrett, 571

  F.2d 1323, 1326 n.3 (5th Cir. 1978). A protective order does not depend on a legal

  privilege. Farnsworth v. Procter & Gamble Co., 758 F.2d 1545, 1548 (11th Cir. 1985).


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         The Court has broad discretion to use protective orders to limit the means and

  scope of discovery. In re Alexander Grant, 820 F.2d at 357 (11th Cir. 1987) (per curiam).

  State confidentiality law does not govern federal discovery. Once good cause is shown,

  a court may “make any order which justice requires to protect a party or person from

  annoyance, embarrassment, oppression, or undue burden or expense.” Fed.R.Civ.P.

  26(c). In the Eleventh Circuit, district courts must balance the interests of those

  requesting the order. Farnsworth v. Procter & Gamble Co., 758 F.2d 1545 (11th Cir. 1985).

      B. The Existing HIPAA-Qualified Protective Order Filled the Need 4
         Under HIPAA, PHI “means individually identifiable health information”

  which is transmitted or maintained in electronic media or in any other form or

  medium, with certain limited exceptions not relevant to this proceeding. 45 C.F.R. §

  160.103. The regulations that govern disclosure of PHI provide that a covered entity

  may sometimes disclose PHI for medical research or law enforcement investigations.

  It may also disclose PHI in the course of any judicial or administrative proceeding (i)

  in response to an order of a court or administrative tribunal, provided that the covered

  entity discloses only the protected health information expressly authorized by such

  order. 45 C.F.R. § 164.512(e). District courts have employed such protective orders in


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   Centurion purports not to take a position on Plaintiff’s exchange of discovery with FDC but
  by its very terms, Centurion’s proposed order takes over all the territory covered by both the
  general Confidentiality Order (ECF 86) and the existing HIPAA-Qualified Protective Order
  (ECF 137). Plaintiff would gladly negotiate an agreement or proposed order with Centurion
  that covers the special grounds of their trade secrets and other corporate interests as long as it
  did not affect Plaintiff’s access to treatment of conditions like his and the systems employed
  to provide or deny that treatment, did not interfere with a clear picture of its provision and
  practice of care, and did not rob this Court of its power to grant or deny protection under
  Fed.R.Civ.P. 26(c).


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  the past to make material evidence available to parties. See, e.g., Jac’Quann (Admire)

  Harvard et al. v. Mark Inch, et al., Case No. 4:19-cv-212-MW-MAF, Doc. 46 (N.D. Fla.

  Sept. 9, 2019) (Walker, J.).

        The existing HIPAA-Qualified Protective Order (ECF 137) is a tried and true

  vehicle to eliminate unnecessary redactions, further disputes in this lawsuit over

  redacted materials, and can eliminate the burden of requiring authorizations of

  nonparties whose PHI may, often unexpectedly, appear in relevant material evidence

  in this case. 45 C.F.R. § 164.512(e)(1). With an HQPO in place, FDC and its

  contractors can produce unredacted documents containing PHI to Plaintiff ’s counsel

  without the burdens otherwise associated with disseminating PHI. Plaintiff and FDC

  have agreed to several categories of information to be subject to the HQPO, including

  a catchall provision. The production of these classes of documents without redaction

  are necessary to fully understand and support Plaintiff ’s claims, as well as understand

  and rebut Defendants’ defenses in this case. In those documents, there may be

  references to medical conditions, medical staff, facilities, or care, which, if redacted,

  would prevent Plaintiff from addressing his claims. Moreover, the course of discovery

  may lead the parties to documents or evidence that would be material to the claims or

  defenses in this case but may not be specifically enumerated in the HQPO, thus

  necessitating a catchall. Plaintiff and FDC have jointly agreed to the existing HQPO.

  Thus, there is really no need for a separate HQPO. The Court can simply add

  Centurion as a party to the existing order or find that as a contractor of FDC,

  Centurion is already obligated to comply with the existing order.


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     C. Centurion’s HIPAA-Qualified Protective Order Does Not Assist Discovery

        Centurion’s proposed HIPAA-Qualified Protective Order complicates and

  burdens the discovery process. It does not assist the parties in exchanging information.

  It provides non-parties with significant power to slow and frustrate the pace and goals

  of litigation. By contrast, the version agreed to by Plaintiff and FDC has been used in

  numerous cases with beneficial effect. The flaws in the Centurion version include:

        1. Scope of the proposed order encompasses all discovery, not just PHI

        The Centurion proposed order does not particularly focus on Protected Health

  Information and to the extent that it is mentioned, it provides Plaintiff only with access

  to his own records. It does not permit any exploration of Centurion’s pattern and

  practice of providing health care. In effect, all the content related to Protected Health

  Information (PHI) section, §§ 14.4, 14.5, grants Plaintiff is to see his own medical

  records. Centurion takes refuge in state law to deny Plaintiff a way to prove policy and

  practice elements that support Monell liability.

        Although the proposed order by its terms would also cover discovery of security-

  related records, it disposes of traditional security-related categories of presumptively

  confidential records such as “video and photographs within a prison,” “floor plans,”

  “restricted procedures,” “restricted training materials,” and substitutes “trade secrets,”

  “proprietary business information,” “competitively sensitive information,” “business

  financial information,” All confidential materials are to be marked as “Confidential”

  at the top of each page that contains “Protected Material.” The parties have already

  exchanged substantial discovery materials and it would be a major burden to try to

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  impose the Centurion system on existing discovery matters already at rest.

        To the extent that Centurion’s proposed order does influence production of

  health-related discovery, it appears to argue that Florida Statutes inconsistent with

  HIPAA should govern over HIPAA statutes and rules in federal discovery. Where the

  Centurion order (ECF 139-1) mentions “information prohibited from disclosure by

  statute” in § 2.4 at 2, it does not specify federal law. It makes clear its proposed order

  is based instead on § 456.057, Florida Statutes, which seems to completely divest the

  federal courts of jurisdiction over federal discovery based on Fed.R.Civ.P. 26(c).

        In discussions with undersigned counsel, and in its Motion here (ECF 139),

  Centurion invokes an unreported federal case, Edmond v. Univ. of Miami, 2009 WL

  10667430 at *2 (S.D. Fla.) to pit § 456.057, Fla.Stat. as a guide to federal discovery

  against a precedential federal case Murphy v. Dulay, 768 F.3d 1360, 1366 (11th Cir.

  2014) (Florida law contrary to HIPAA is preempted by federal law). In looking more

  closely at the docket in Edmond, Case No. 1:09-cv-20079-WJZ, it does not appear that

  the parties or the court were aware of the kind of HIPAA-Qualified Protective Order,

  with its elaborate provisions for protection by non-dissemination, as it is commonly

  employed by law enforcement or in medical research or litigation.

        2. Nonparty designation of protected content fosters delays.

        Under Centurion’s proposed order, all discovery material produced by a non-

  party is deemed confidential for seven days. (§ 2.7). A deponent has 20 days to decide

  if his or her testimony is confidential. Delays in designating protected materials and

  accidental failures to properly designate materials stretch out the time frames for

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  production of usable evidence and leave a constant pall of uncertainty as to what the

  usable evidence in a case is. When a protected document contains information that

  articulates the central issue of the case, any discussion of that issue can be said to be

  “extracted” or “summarized” from protected material (see § 3, Scope) and therefore

  cannot be articulated in motions practice.

        3. Inadvertent failure to designate provision invites obstruction

        There are numerous obstructions and speed bumps built into the discovery

  process by Centurion’s proposed order. If a “party” or “nonparty” provides material

  or testimony that they meant to designate, but inadvertently fails to designate, as

  “confidential,” then all receiving parties must “promptly” destroy their copies, no

  matter how voluminous, without any provision for when the properly designated

  copies will be provided as replacements. There is no requirement of “promptness”

  which provides endless opportunities for interruptions of the discovery process. The

  opportunities for designation and re-designation and the provision for “claw-back” of

  “inadvertently” undesignated materials are theoretically endless.

        4. Requirement of separate binding is costly and burdensome.

        The requirement of separate binding will complicate the efforts of litigants who

  scan paper materials used in litigation. Under the proposed order, confidential

  information testified to in a deposition or hearing must be marked “Confidential” at

  the top of the page and separately bound by the court reporter “as instructed by the




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  Party or Non-party offering or “sponsoring” the witness or presenting the testimony.” 5

  This provision seems to conflict with the provision that the party or non-party “offering

  or sponsoring” the testimony has 20 days to identify the “protected testimony.” It is

  not clear, then, whether the court reporter may have to wait 20 days before marking

  and separately binding the protected sections of the transcript after party or non-party

  makes the designations. (§ 5.1(b)).

         5. Proposed order fosters confusion of records and information.

         The proposed order does not discriminate between “records” and

  “information” so a few words spoken in a deposition, written in an expert report or in

  a motion or an interrogatory answer can qualify the page or pages on which it is written

  for protected status, by the terms of the proposed order to be separately bound by the

  court reporter and filed separately with a motion to seal. 6 The ubiquity of provisions

  for confidentiality will result in a flurry of motions to seal and very awkward

  presentations of the issues in the case in motions and expert reports.


  5
    This requirement will greatly increase the cost and delay surrounding depositions and since
  each mention of the “Confidential Information” will have to be separately bound, deposition
  transcripts will be a series of separate bindings some perhaps just a page or two. Non-parties
  (presumably the deponents, or non-parties “sponsoring” the deponents) may dictate to the
  court reporter how their testimony will be marked and bound. It is not clear what is meant by
  “sponsoring” a witness.
  6
   For instance, suppose a corrections officer wants to describe in a deposition how an inmate
  was removed from a cell and escorted to medical and tracked the language of a Post Order or
  other restricted policy document – that page is now marked confidential and separately
  bound. Suppose an expert wants to describe the escort as he saw it on the video and comments
  that it was done according to procedure. Likely that passage and every reference back to it
  will have to be marked and separately bound. Suppose the officer or the expert is quoted in a
  Motion for Summary Judgment. The Motion may have to be filed under seal as long as it
  excerpts, extracts or summarizes information that is protected. (See § 3, Scope).


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         6. The proposed order would cause litigation delays and burdens

         The bureaucratic delays and burdens created by the hyper-technical procedures,

  the confusion of “records” and “information” and the requirement of marking and

  separate binding of transcripts, including pages that merely mention information

  deemed to be protected, the broad categories of persons and entities that can assume a

  role in designation of protected material, the delays in making designation decisions,

  and the almost limitless occasions for controversies over what is or is not to be

  protected, and how it must be processed and stored.

         7. The proposed order seeks to fix what wasn’t broken

         Litigation has been moving along in this case based on the current Orders, a

  general Confidentiality Order rendered in May of 2023 and geared to prison cases with

  a presumption for certain security-related categories of information. Likewise, the

  HIPAA-Qualified Protective Order just signed two weeks ago provides for production

  of health records of consequence to the issues in the case, the production of records

  that are material to claims and defenses that are protected by terms of non-

  dissemination and eventual destruction. The only sure effect of trashing the existing

  Orders and replacing them with the proposed Centurion order will be to slow the

  litigation process, to frustrate the goals of the litigation, and make it more costly.

     D. The Existing Confidentiality Order (ECF 86) Can Meet Centurion’s Needs
         To the extent Centurion has legitimate needs to protect “trade secrets” and other

  corporate interests, the existing Confidentiality Order, ECF 86, can meet those needs.

  Paragraph 18 of that Order provides: “Producing or receiving materials or otherwise


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  complying with the terms of this Order shall not . . . . (c) Prejudice in any way the

  rights of a party to seek a court determination whether particular discovery material

  should be produced.” (ECF 86 at 6). Total revamping the discovery process is not

  needed and could be catastrophic with limited time remaining in discovery. Plaintiff

  cannot agree with Centurion’s assertion of state law authority over this Court’s power

  to provide or deny protection, as reflected in its proposed order.

        WHEREFORE, Plaintiff moves this Honorable Court to continue to exercise

  its power to grant or deny protection under the federal rules, apply ECF 86 and 137 to

  Centurion and DENY its Motion for its proposed HIPAA-Qualified Protective Order.

  Respectfully Submitted August 30, 2024, /s/ James V. Cook________________
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  I CERTIFY the foregoing was filed electronically on 8/30/2024, serving counsel of
  record registered to be notified by the CM/ECF electronic filing system.
                                                            /s/James V. Cook__________



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